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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                     HAMMOND DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                                 Plaintiff,            )
                                 v.                    )       CAUSE NO.: 2:08-CR-153-RL-PRC
                                                       )
ALICE CHYWANNA JOHNSON,                                )
                   Defendant.                          )

        FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
      UPON A PLEA OF GUILTY BY DEFENDANT ALICE CHYWANNA JOHNSON

TO:       THE HONORABLE RUDY LOZANO, JUDGE,
          UNITED STATES DISTRICT COURT

          Upon Defendant Alice Chywanna Johnson’s request to enter a plea of guilty pursuant to Rule

11 of the Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge

Paul R. Cherry, on December 8, 2008, with the consent of Defendant Alice Chywanna Johnson, counsel

for Defendant Alice Chywanna Johnson, and counsel for the United States of America.

          The hearing on Defendant Alice Chywanna Johnson’s plea of guilty was in full compliance with

Rule 11, Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the

record.

          In consideration of that hearing and the statements made by Defendant Alice Chywanna Johnson

under oath on the record and in the presence of counsel, the remarks of the Assistant United States

Attorney and of counsel for Defendant Alice Chywanna Johnson,

          I FIND as follows:

          (1) that Defendant Alice Chywanna Johnson understands the nature of the charge against her

to which the plea is offered;

          (2) that Defendant Alice Chywanna Johnson understands her right to trial by jury, to persist

in her plea of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse
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witnesses, and her right against compelled self-incrimination;

       (3) that Defendant Alice Chywanna Johnson understands what the maximum possible

sentence is, including the effect of the supervised release term, and Defendant Alice Chywanna

Johnson understands that the sentencing guidelines apply and that the Court may depart from those

guidelines under some circumstances;

       (4) that the plea of guilty by Defendant Alice Chywanna Johnson has been knowingly and

voluntarily made and is not the result of force or threats or of promises;

       (5) that Defendant Alice Chywanna Johnson is competent to plead guilty;

       (6) that Defendant Alice Chywanna Johnson understands that her answers may later be used

against her in a prosecution for perjury or false statement;

       (7) that there is a factual basis for Defendant Alice Chywanna Johnson’s plea; and further,

       I RECOMMEND that the Court accept Alice Chywanna Johnson’s plea of guilty to the

offense charged in the Indictment and that Defendant Alice Chywanna Johnson be adjudged guilty

of the offense charged in the Indictment and have sentence imposed. A Presentence Report has been

ordered. Should this Report and Recommendation be accepted and Alice Chywanna Johnson be

adjudged guilty, sentencing will be held February 27, 2009, at 11:00 a.m. in the Hammond

Division, before Judge Rudy Lozano. Defendant Alice Chywanna Johnson is ORDERED to be

present in person at sentencing. Objections to the Findings and Recommendation are waived unless

filed and served within ten (10) days. 28 U.S.C. § 636(b)(1)(B).

       So ORDERED this 8th day of December, 2008.

                                                      s/ Paul R. Cherry
                                                      MAGISTRATE JUDGE PAUL R. CHERRY
                                                      UNITED STATES DISTRICT COURT
cc:    All counsel of record
       Honorable Rudy Lozano
